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7
                                  UNITED STATES DISTRICT COURT
8
                     IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10                                                ) Case No.: Cr.S-09-170-GEB
     United States of America,                    )
11                                                )
                     Plaintiff,                   ) ORDER CONTINUING SENTENCING
12                                                ) AND ESTABLISHING NEW PSR
             vs.                                  ) DISCLOSURE SCHEDULE
13                                                )
     Robert L. Carr and Theresa Ann Carr,         )
14                                                )
                     Defendants                   ) DATE: December 21, 2012
15                                                ) TIME: 9:00 a.m.
                                                  ) JUDGE: Hon. Garland E. Burrell, Jr.
16                                                )
                                                  )
17                                                )
                                                  )
18                                              ORDER
19

20          The Court hereby adopts the schedule in the parties’ stipulation filed on December 10,
21   2012, as its order.
22
     12/10/12
                                                 _________________________
23                                               GARLAND E. BURRELL, JR.
                                                 Senior United States District Judge
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